Case 1:19-cv-24184-MGC Document 48 Entered on FLSD Docket 09/10/2020 Page 1 of 8




              YK C UW ITED STA TES D ISTRICT C OU RT SO U TH ERN
                        D ISTR IC T OF FLO RID A
                                                              FIUED BY                     D'O'

       JAM CS BUCKM AN etal.,                                                SEF *8 WP
                                          cAspgNo:19-cv-24184                gjp j.jjygy
       Plaintiff                                                             S..
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       V s,

       LA N CA STER M O RTG A G E C O .Eta1,.



                        M O TIO N TO R EC O N SID ER

       Com es now 'plaintiffs w ith m otion to reconsideraccording to R .4:49-2
       andR.52-1to directly answertheJudge'sOrderto dismisswith prejudice
       on ourcase,O n 07/24/20 ourcase w as dism issed.See eXIA.A .W e did a
                                           .'
                                            >K                           ,
       m otion for extention oftim e EXh.B .and you gave us until08/20/20,
       Exh.C .butdism issed us 08/17/20,before w e could turn itin w hich w as
       terriblyconfusing soweaskedforyourinterestofjusticefùryouto look
       atour am ended com pliantw here there w as actually no m ortgagz,note or
       warranty deçd eversigned orclosed on allw aswriten on thiscase in item
       42 on docketforplaintiffsto have m ore daysto enteram ended com plaint
       by 08/20/2020,Because defendants never asked form ore tim e and the
       courtnever said the response w as m entforthe defendantsto answ er,the
       letterw as addressed to plaintiffs only so plaintlffsresponded on the 20tll
       and w e w ere being rushed so w e asked for3 m ore days and thatw as m e
       asking tbr leave to am end atthattim e,and rightthen atthattim e lw as
       asking form ore tim e to finish.so therefore reconsider
Case 1:19-cv-24184-MGC Document 48 Entered on FLSD Docket 09/10/2020 Page 2 of 8




                SIGN ED       .              .       M


                          J ES BU CK M A N
                          l 20 S.RIV ER D R .
                          M IA M I,FL.33167
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                                  M A UR IC E SY M ON ETTE
                                  15020 SO U TH R IV ER D R .
                                  M IA M I,FL.3: 167


                          C E R TIFIC A TE O F SER V IC E




                   lH ER EB Y C E R TIFY thata trueand correct
            copy ofthe foregoing has been furnished by U .S.M ail
            or E-file to:B LA N K R O M E LLP.D anieIS.H urtescc,
            N icoleR .rropper To aIIinvolved.
Case 1:19-cv-24184-MGC Document 48 Entered on FLSD Docket 09/10/2020 Page 3 of 8
Case 1:19-cv-24184-M GC Docum ent47 Entered on FLSD Docket08/26/2020 Page 1 ot2

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                              SOU TM RN D ISTRICT O F FLORD A

                          Case N o.19-24184-Civ-CO OKE/G O O DM AN

   JAM ES BU CKM AN ,etal.,

          Plaintigs,

   VS.

   LA N CASTER M ORTGA G E CO .,etal.,

          Defendants.

                               O RD ER O N PLAINTIFFSAM O TION
          THIS CAUSE isbefore the Courton prosePlaintiFs'M otion IECF No.46). On
   August 17,2020,the Court dism issed and closed this case because PlaintiFs'A m ended
   Complaintstillcontained thedefectstheCourtj1
                                             'slucted Plaintifrsto cul
                                                                     ,e. SeeECF No.
   44. Despite an extension of tim e to com ply w ith the Court's Order, the Am ended
   Com plaint rem ained a shotgun pleading. C onsequently,the C ourt dism issed the action .
   Before the August 17,2020 dism issal,on August6,2020,PlaintiFs flled a m otion for an
   additionalextension of tim e,which becam e m ootw hcn PlaintiFs file
                                                                      'd a tim ely Am ended
   Com plainton the sam e dayl SeeECF N os.42,43. The docketentry forPlaintiFs'm otion
   foî'extension of tim e noted that D efendants'had until August 20,2020 to respond to
  PlaintiFs'M otion,if they w ished to do so. SceECF N o.42. Thisisa custom ary notation
   on the docket whenever a m otion is sled. Plaintiffs have now ftled the instant m otion,
   positing thatthe August20,2020 date was an exVnsion this Courtgranted to the PlaintiFs
   to subm itanotherAm ended Com plaint. Thisisnotso. Asexplained,the docketreflected
   thedateby which D efendantswereto haveresponded to Plaintiffs'M otion.

   1Since the Courtdismissed the action, Plaintifrshave ftled two additionalamended complaints,one without
  seekingleave (ECF No.45),and onewith theinstantmotion (ECF No.46-2). Neitherofthese complaints
  comply with Rule 8 and the Court'    s Order. The FederalRulesof CivilProcedurç permitdistrictcourts to
  impose 'sappropriate sanctions,''afternotice and a reasonable opportunity to respond,whereparty subrnitsa
  pieadingtoth2courtforan improperpurpose. SeeFed.R.Civ.P.11(c). W hileprosestigantsareaflbrded
  leniency in federal court proceedings, they a!e not exempt from following Court orders or conduding
  themselvesprofessionally beforetheCourt. PlaintiFsare thereforecautioned againstfrivolous,vexatious,and
  unprofessionallitigationpractices.
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        A ccordingly,the Courtfindsno groundsto disturb itsOrderdism issing the case with
       dice. lt istherefore O RD ERED A ND 'A D JUD GED that Plai/tiffs' M otion is
  Preju
  D ENV D and the case isto rem ain CLO SED .
  D O NE and ORD ERED in cham bers,atM iam i,Florida,this25th day ofAugust2020.


                                             fà$ P:2 J      .
                                       M AR IA G.COOKE
                                       United StatesDistrictJudge


   Copiesfurnished to:
   Jonathan Goodman,U S.M agistrateIudge
   Jam esBuckm an,pro se
   M auriceSymonette,prose
   CounselofRecord
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

        JaNM ES BUCKM AN ,etal.,
                                     CA SE;19-CV-24184-COOKE /GOOD M EN
        Plaintiff(s)
        V s.
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        LAN CA STER M ORTGAGE CO .,eta1,.
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        Defendants(s)                                                                     y6'.q:.;lI'11!--:1!-.:,1k-,.1!.-7.14
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                            M O T IO N FO R EX TE N SIO N O F T IM E

               CO M ES N ow Plaintiffs Jam es Buckm an and M aurice Sym onette w ith
         M otion to extend the time to filesecond am ended com plaint,because l
         waschecking on my case 19-CV-24184 m yselfyesterday on the court
         system and found aletterfrom the courtdocketon the intem etinform ing
         meto make a second amended complahtdue to the situation 6fthecourt
         saying itw asnotsufficiently written outlhave no problem with thatits
         justthatIdidnotrecieveanotification inthemailfrom thedistrictcourt
         onthatsubject1fortunatelydiscovered itcnmyownlcalledtheclerk
         abourtthissituation and they told m e thatlcould send Ia letter
         requ'lsting m oretim e since ldid notgetanotice in them ailplease grant
         m em oretim e because itisa 1otto ofinform ation to puttogetherthank

         yOu                                     .

                                 IHereby Certify thatatrue and corredtcopy ofthe
          foregoing wassentby u.
                               sm ailto the foregoing on 7/31/2Q20 to DanielS.
          HurtesFl.BarNo.69104Dllurtes@blankrome.comandNicoleR.Topper
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       Fla.BarN o.558591to BLANK ROM E LLP COUSEL FOR
        DEFENDANT DEUTSCHE BANK AT 500E.BROW AO BLVD.
        STE.2100 FT.LAUD .FLA .33394 PH :954-512-1800.




        J M ESBUCKM N
         15020-S.RIVER DR .
         M IAM I,1+ A .33167




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